    Case 3:24-cv-01328-AJB-ML          Document 67-1     Filed 02/03/25    Page 1 of 28




      UNITED STATES DISTRICT COURT
      NORTHERN DISTRICT OF NEW YORK


      YARON KWELLER,

                         Plaintiff,
                                                             Civil Action No.:
             vs.
                                                          3:24-cv-01328-ECC-ML
      BROOME COUNTY, et al.,

                         Defendants.




                    DEFENDANTS MICHAEL A. KORCHAK AND MARK
                   LOUGHRAN’S MEMORANDUM OF LAW IN SUPPORT
                    OF THEIR MOTION TO DISMISS THE COMPLAINT




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30650642.1
    Case 3:24-cv-01328-AJB-ML                         Document 67-1                Filed 02/03/25              Page 2 of 28




                                                     TABLE OF CONTENTS


         PRELIMINARY STATEMENT .........................................................................................1

         STATEMENT OF FACTS ..................................................................................................2

         ARGUMENT ......................................................................................................................3

                   POINT I              ABSOLUTE PROSECUTORIAL IMMUNITY BARS
                                        PLAINTIFF’S CLAIMS ..................................................................3

                   POINT II             ALTERNATIVELY, KORCHAK AND LOUGHRANARE
                                        PROTECTED BY QUALIFIED IMMUNITY ................................6

                   POINT III ..... THE FIRST, EIGHTH AND TENTH CAUSES OF ACTION FAIL
                                   TO REBUT THE PRESUMPTION OF PROBABLE CAUSE ......8

                             a. False Arrest Claim……………………………………………………..9

                             b. Malicious Prosecution Claim………………………………………...10

                   POINT IV             THE SECOND CAUSE OF ACTION IS FORECLOSED
                                        BY THE ACQUITTAL AND IS FACIALLY DEFICIENT AS A
                                        MATTER OF LAW .......................................................................12

                 POINT V               THE THIRD CAUSE OF ACTION FOR FAILURE TO
                                       INTERVENE IS NOT PROPER AS AGAINST KORCHAK AND
                                       LOUGHRAN AND IS FACIALLY INSUFFICIENT AS A
                                       MATTER OF LAW ........................................................................13

                   POINT VI             PLAINTIFF’S FOURTH CAUSE OF ACTION FAILS TO
                                        ALLEGE INDIVIDUAL ACTIONS OF KORCHAK AND
                                        LOUGHRAN      WHICH       VIOLATE                    PLAINTIFF’S
                                        CONSTITUTIONAL RIGHTS AND FAILS TO ALLEGE
                                        DELIBERATE INDIFFERENCE .................................................14

                   POINT VII            THE SEVENTH CAUSE OF ACTION FOR CONSPIRACY
                                        FAILS TO STATE A CLAIM UPON WHICH RELIEF CAN BE
                                        GRANTED ....................................................................................17

                   POINT VIII           THE NINTH CAUSE OF ACTION FAILS TO PLEAD EXTREME
                                        AND OUTRAGEOUS CONDUCT AND THEREFORE FAILS AS
                                        A MATTER OF LAW ...................................................................18



                                                                  i
30650642.1
    Case 3:24-cv-01328-AJB-ML                         Document 67-1                Filed 02/03/25              Page 3 of 28




                   POINT IX             THE TWELFTH CAUSE OF ACTION FAILS TO MEET THE
                                        HIGH PLEADING BURDEN FOR MALICIOUS ABUSE OF
                                        PROCESS AND IS FACIALLY INSUFFICIENT AS A MATTER
                                        OF LAW ........................................................................................19

        CONCLUSION ...................................................................................................................20




                                                                  ii
30650642.1
     Case 3:24-cv-01328-AJB-ML                          Document 67-1                Filed 02/03/25              Page 4 of 28




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Ackerson v. City of White Plains,
   702 F.3d 15 (2d Cir. 2012).........................................................................................................9

Acosta v. Ferraro,
   2024 U.S. Dist. LEXIS 196716 (S.D.N.Y. Oct. 25, 2024) ......................................................19

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .................................................................................................................15

Bank of Nova Scotia v. United States,
   487 U.S. 250 (1988) .................................................................................................................10

Bd. of the Cnty. Commrs v. Brown,
    520 U.S. 397 (1997) .................................................................................................................15

Berie v. Stevenson,
   2019 U.S. Dist. LEXIS 33464 (N.D.N.Y. 2019) .......................................................................9

Breton v. City of New York,
   404 F. Supp. 3d 799 (S.D.N.Y. 2019)................................................................................13, 14

Cannistraci v. Kirsopp,
   2012 U.S. Dist. LEXIS 68399 (N.D.N.Y. May 16, 2012) .......................................................12

Connick v. Thompson,
   563 U.S. 51 (2011) ...................................................................................................................16

Dory v. Ryan,
   25 F3d 81 (2d Cir. 1994)............................................................................................................3

Dunlop v. City of New York,
   2008 U.S. Dist. LEXIS 38250 (S.D.N.Y. May 6, 2008)..........................................................17

Fernandez v. City of New York,
   457 F. Supp. 3d 364 (S.D.N.Y. 2020)......................................................................................19

Gallop v. Cheney,
   642 F.3d 364 (2d Cir. 2011).....................................................................................................17

Garnett v. Undercover Officer C0039,
   838 F.3d 265 (2d Cir. 2016)...............................................................................................12, 13


                                                                    iii
30650642.1
     Case 3:24-cv-01328-AJB-ML                          Document 67-1                Filed 02/03/25              Page 5 of 28




Harlow v. Fitzgerald,
   457 U.S. 800 (1992) ...................................................................................................................7

Hernandez v. United States,
   939 F.3d 191 (2d Cir. 2019).....................................................................................................15

Hincapie v. City of New York,
   434 F. Supp. 3d 61 (S.D.N.Y. 2020)........................................................................................12

Jaegly v. Couch,
   439 F.3d 149 (2d Cir. 2006).......................................................................................................8

Jean-Laurent v. Wilkinson,
   540 F. Supp. 2d 501 (S.D.N.Y. 2008), aff’d, 461 F. App’x 18 (2d Cir. 2012) ........................14

Lopez v. Riley,
   865 F.2d 30 (2d Cir. 1989).................................................................................................10, 11

Manganiello v. City of New York,
  612 F.3d 149 (2d Cir. 2010).................................................................................................8, 10

Newton v. City of New York,
   566 F. Supp. 2d 256 (S.D.N.Y. 2008)......................................................................................13

Outlaw v. City of Hartford,
   884 F.3d 351 (2d Cir. 2018).....................................................................................................16

Pani v. Empire Blue Cross Blue Shield,
   152 F.3d 67 (2d Cir. 1998).........................................................................................................7

Pinuad v. County of Suffolk,
   52 F.3d 1139 (2d Cir 1995)....................................................................................................3, 4

Singer v. Fulton County Sheriff,
   63 F.3d 110 (2d Cir. 1995).........................................................................................................8

Tangreti v. Bachmann,
   983 F.3d 609 (2d Cir. 2020).....................................................................................................15

Thorpe v. Duve,
   2020 U.S. Dist. LEXIS 177564 (N.D.N.Y. Sept. 28, 2020) ....................................................10

Tillman v. Hoffman,
    2023 U.S. Ap. LEXIS 28976 (2d Cir. November 1, 2023)........................................................3

United States v. Lombardozzi,
   491 F.3d 61 (2d Cir. 2007).......................................................................................................10


                                                                    iv

30650642.1
     Case 3:24-cv-01328-AJB-ML                              Document 67-1                  Filed 02/03/25               Page 6 of 28




United States v. Murphy,
   2024 U.S. App. LEXIS 16083 (2d Cir. July 2, 2024) ..............................................................10

Van de Kamp v. Goldstein,
   555 U.S. 335 (2009) ...................................................................................................................7

Zappin v. Cooper,
   2024 U.S. App LEXIS 15081 (2d Cir. June 21, 2024) ............................................................19

Statutes

42 U.S.C. § 1983 .................................................................................................................... passim

ADA ...........................................................................................................................................7, 14

New York Criminal Procedure Law ................................................................................................5

Other Authorities

Fourteenth Amendment .................................................................................................................13

Federal Rule of Civil Procedure 12(b)(6) .....................................................................................1,7

New York State Constitution ...........................................................................................................8




                                                                         v

30650642.1
    Case 3:24-cv-01328-AJB-ML             Document 67-1         Filed 02/03/25       Page 7 of 28




                                 PRELIMINARY STATEMENT

         This Memorandum of Law is submitted on behalf of Defendants Michael A. Korchak

(“Korchak”) and Mark Loughran (“Loughran”) in support of their motion to dismiss the Complaint

[Dkt. 1] pursuant to Federal Rule of Civil Procedure 12(b)(6). Korchak and Loughran are protected

from Plaintiff’s claims by absolute and/or qualified immunity. Additionally, Plaintiff has failed to

plead causes of action against Korchak and Loughran upon which relief can be granted. The

Complaint is facially deficient on multiple causes of action asserted against Korchak and

Loughran, and for the reasons more fully explained herein, the Complaint must be dismissed as a

matter of law.

         Korchak is the former District Attorney for Broome County and Loughran served as his

Chief Assistant at the time that Plaintiff was arrested and subsequently prosecuted for various

offenses arising out of an alleged sexual assault involving Defendants Samantha Herceg

(“Herceg”) and Hailey Demkovich (“Demkovich”). Defendant Alyssa Congdon (“Congdon”) was

the lead prosecutor assigned to the case and handled the investigation, presentation of the matter

to grand jury, preparation of the case for trial and, ultimately, the prosecution of the action at trial.

Following the trial, Plaintiff was acquitted.

         Plaintiff, operating under the mistaken assumption that an acquittal equates to malicious

prosecution, brought the instant action making allegations of violations of his constitutional rights

under federal and state law including, malicious prosecution, false arrest, fabrication of evidence,

withholding exculpatory evidence, failing to conduct an adequate investigation, failure to

intervene, conspiracy, Monell claims for municipal liability, abuse of process, intentional, reckless

or negligent infliction of emotional distress, and a theory of respondeat superior liability against



                                                   1
30650642.1
    Case 3:24-cv-01328-AJB-ML             Document 67-1         Filed 02/03/25      Page 8 of 28




the municipal defendants. Each such cause of action is either improperly or insufficiently pled or

inapplicable to Korchak and Loughran.

         Even if the causes of action were properly and sufficiently pled, Plaintiff fails to overcome

the significant hurdle of prosecutorial immunity afforded to Korchak and Loughran, whose

activities as alleged in the Complaint, were entirely carried out in their capacity as prosecutors.

For the reasons set forth below, the Complaint fails to assert any viable action for recovery of

damages as against Korchak and Loughran and must therefore be dismissed as a matter of law.

                                    STATEMENT OF FACTS

         The allegations in the Complaint, which are assumed to be true for purposes of this motion,

claim violations of Plaintiff’s constitutional rights relating to his arrest, the investigation of the

charges against him, presentation of evidence to the grand jury, and prosecution at trial. Defendants

Demkovich and Herceg allege that in the late evening/early morning of November 26-27, 2021,

they were with Plaintiff at various establishments in Binghamton owned by Jordan Rindgen, as

well as Rindgen’s office on Washington Street, when they were sexually assaulted by Plaintiff,

Rindgen, and Plaintiff’s brother, Leor Kweller.

         Plaintiff alleges that the District Attorney’s Office and its employees, including Korchak

and Loughran, failed to properly investigate the allegations made by Demkovich and Herceg. This

includes an alleged failure to obtain electronic data from Demkovich and Herceg’s cell phones

which Plaintiff purports contained exculpatory evidence. Plaintiff also alleges that Congdon, the

Assistant District Attorney assigned to prosecute the matter, was inexperienced, failed to properly

investigate the case, failed to obtain evidence, and failed to disclose exculpatory materials. Plaintiff

alleges that Korchak and Loughran failed to properly train and supervise Congdon in the

investigation and prosecution of Plaintiff leading to alleged violations of his constitutional rights.


                                                   2

30650642.1
      Case 3:24-cv-01328-AJB-ML          Document 67-1         Filed 02/03/25      Page 9 of 28




Plaintiff brings causes of action for malicious prosecution, false arrest, conspiracy, abuse of

process, among others, each of which fails as to Korchak and Loughran due to the doctrine of

absolute prosecutorial immunity.

                                           ARGUMENT

                                              POINT I

                             ABSOLUTE PROSECUTORIAL
                          IMMUNITY BARS PLAINTIFF’S CLAIMS

         As the former District Attorney for Broome County and the former Chief Assistant District

Attorney for Broome County, Korchak and Loughran are protected from Plaintiff’s claims by

absolute prosecutorial immunity. For the Court’s convenience and to avoid repetition, Korchak

and Loughran respectfully incorporate by reference the legal arguments and authority set forth by

Congdon in Point I of her Memorandum of law in support of her motion to dismiss. [See Dkt. 65-

1].

         Notably, “[a] district attorney is absolutely immune from civil liability for initiating a

prosecution and presenting the case at trial . . .[and] is also immune for conduct in preparing for

those functions.” Tillman v. Hoffman, 2023 U.S. Ap. LEXIS 28976, *3 (2d Cir. November 1, 2023)

quoting Hill v. City of New York, 45 F.3d 653, 661 (2d Cir. 1995). Further, in determining whether

absolute immunity attaches, the courts apply a “functional approach, as the liability shield covers

virtually all acts that are associated with a prosecutor’s function as an advocate.” Id.; see also Dory

v. Ryan, 25 F3d 81, 83 (2d Cir. 1994). In creating statutory relief pursuant to 42 U.S.C. § 1983,

“Congress did not intend § 1983 to abrogate immunities ‘well grounded in history and reason.’”

Pinuad v. County of Suffolk, 52 F.3d 1139, 1147 (2d Cir 1995) citing Tenney v. Brandhove, 341

U.S. 367, 376 (1951). Further, “among the traditional official immunities that perdure is the

absolute immunity for state prosecutors.” Pinaud, 52 F.3d at 1147. Indeed, the Second Circuit has

                                                  3

30650642.1
    Case 3:24-cv-01328-AJB-ML              Document 67-1      Filed 02/03/25      Page 10 of 28




described absolute immunity as a “formidable obstacle” to plaintiffs since it provides absolute

immunity against a §1983 claim for a state prosecutor’s conduct in “initiating a prosecution and in

presenting the State’s case . . . .” Id.

         Plaintiff’s Complaint fails to allege that Korchak or Loughran acted outside of their

respective roles as the District Attorney and Chief Assistant District Attorney at any time. In fact,

in paragraphs 13 and 14 of the Complaint, Plaintiff alleges the opposite. The application of

absolute immunity turns upon whether the allegedly offending activity performed was a

prosecutorial activity. Pinaud, 52 F.3d at 1150. Here, the only activities which Korchak and

Loughran are alleged to have participated in, involve the supervision of Congdon. The Complaint

is replete with allegations that Korchak and/or Loughran should have more closely supervised

Congdon’s work in investigating the case and preparing it for presentation to grand jury and trial.

However, any act of supervision performed by Korchak or Loughran, whether done well or done

poorly, was done in their capacity as District Attorney and Chief Assistant District Attorney and

is therefore covered by the doctrine of prosecutorial immunity.

         Specifically, Plaintiff alleges the following activities by Korchak and/or Loughran:

             a. Korchak issued a video statement that several incidents had been reported and the

                investigation was ongoing. [Dkt. 1, ¶ 95].

             b. Korchak and Loughran attended a meeting with Binghamton Police Department

                (“BPD”) and asked Congdon to join, discussing the investigation so far and

                intended next steps to further the investigation. [Dkt. 1, ¶ 106, 107].

             c. Korchak and/or Loughran assigned the case to Congdon. [Dkt. 1, ¶ 108].

             d. Loughran attended a meeting with the BPD, Congdon, and criminal complainants,

                Herceg and Demkovich. [Dkt. 1, ¶ 111].


                                                  4

30650642.1
    Case 3:24-cv-01328-AJB-ML           Document 67-1         Filed 02/03/25   Page 11 of 28




             e. Loughran and Congdon undertook efforts to obtain electronic data from Herceg and

                Demkovich’s cell phones. [Dkt. 1, ¶ 120].

             f. Korchak and/or Loughran did not supervise or train Congdon as to procedure for

                obtaining a buccal swab or DNA sample. [Dkt. 1, ¶ 123].

             g. Korchak and/or Loughran did not supervise or train Congdon as to procedure for

                obtaining electronic data. [Dkt. 1, ¶ 124].

             h. Korchak and/or Loughran attended multiple meetings to discuss the investigation.

                [Dkt. 1, ¶ 125].

             i. Korchak and/or Loughran assigned authority over the investigation to Congdon.

                [Dkt. 1, ¶ 127].

             j. Korchak and/or Loughran did not recognize or disclose exculpatory information to

                the defense. [Dkt. 1, ¶ 150].

             k. Korchak and/or Loughran did not supervise or train Congdon as to the procedure

                for discovery. [Dkt. 1, ¶ 152].

             l. Korchak and/or Loughran did not supervise or train Congdon as to the procedure

                for indictment. [Dkt. 1, ¶ 153].

             m. Loughran, with Congdon and Defendant Cronin, presented the case to Grand Jury.

                Korchak supervised the attorneys and presentation to the Grand Jury. [Dkt. 1, ¶

                156].

             n. Korchak and Loughran filed a Certificate of Compliance pursuant to New York

                Criminal Procedure Law. [Dkt. 1, ¶ 159].

             o. Korchak and Loughran did not disclose to Plaintiff Herceg’s consensual

                relationship with another partner. [Dkt. 1, ¶ 161d].


                                                   5

30650642.1
    Case 3:24-cv-01328-AJB-ML              Document 67-1       Filed 02/03/25       Page 12 of 28




             p. Korchak and Loughran did not take steps to have Herceg and Demkovich’s cell

                phones preserved. [Dkt. 1, ¶ 162].

             q. Korchak and/or Loughran did not review the contents of a hard drive with the

                Herceg and Demkovich phone extractions. [Dkt. 1, ¶ 166].

             r. Materials extracted from Demkovich’s cell phone were in the possession of the

                Broome County District Attorney’s Office and text messages were not identified or

                disclosed to defense counsel. [Dkt. 1, ¶ 173].

         Taking all of Plaintiff’s allegations at face value and as true, as is required on a motion for

dismissal, the activities of Korchak and Loughran alleged above were all prosecutorial in nature

and performed within the scope of their employment and in their respective roles as District

Attorney and Chief Assistant District Attorney. While Plaintiff may contend that the supervision

of Congdon was performed poorly, which Defendants deny, this does not equate to malicious

prosecution, violation of Constitutional rights, or a conspiracy against Plaintiff.

         The application of prosecutorial immunity does not turn on how well a prosecutorial

function was performed, but on whether the activity was prosecutorial in nature. Each of the

activities alleged in the Complaint by Korchak and Loughran were part of their core functions as

prosecutors and Korchak and Loughran are therefore entitled to the protections of absolute

immunity. It is respectfully submitted that the Complaint must, therefore, be dismissed as against

them in its entirety and with prejudice.

                                              POINT II

                      ALTERNATIVELY, KORCHAK AND LOUGHRAN
                       ARE PROTECTED BY QUALIFIED IMMUNITY

         Korchak and Loughran are also protected by qualified immunity from Plaintiff’s claims

that they engaged in investigative or administrative tasks which fall outside the scope of absolute

                                                   6

30650642.1
    Case 3:24-cv-01328-AJB-ML           Document 67-1       Filed 02/03/25      Page 13 of 28




prosecutorial immunity. Korchak and Loughran incorporate by reference as if more fully set forth

herein the legal arguments and authority in Point II of Congdon’s Memorandum of Law in support

of her motion to dismiss. [See Dkt. 65-1].

         Qualified immunity provides a shield to government officials from liability in performing

discretionary tasks such as investigative functions or administrative activities when “not acting as

an officer of the court” so long as their actions “[do] not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457

U.S. 800, 818 (1992); see also Van de Kamp v. Goldstein, 555 U.S. 335, 342 (2009) citing Imbler

v. Pachtman, 424 U.S. 409, 431 (1976). Notably, application of qualified immunity can be

determined on a motion pursuant to Federal Rule 12(b)(6) if the defense appears on the face of the

complaint. Pani v. Empire Blue Cross Blue Shield, 152 F.3d 67, 74 (2d Cir. 1998).

         At all times referenced in the Complaint, Korchak and Loughran acted as officers of the

Court, under color of law, and in their employment as District Attorney and Chief Assistant District

Attorney. It was well within their duties and responsibilities to assign the investigation and

prosecution of Plaintiff to ADA Congdon, an attorney with ten years of criminal defense

experience. Korchak and Loughran were not alleged to have been involved in the investigation,

interviewing/preparation of witnesses, collection of evidence, discovery, or the prosecution as a

whole of Plaintiff. Korchak and Loughran were nominally involved in meetings to review and

discuss the progress of the case as it proceeded and to be available to Congdon for consultation,

advice, or guidance. To the extent that any of the above-referenced activities alleged to be

performed by Korchak and Loughran (see Point I, subparagraphs “a” through “r” above) were not

already covered by absolute prosecutorial immunity, then these activities are investigative or




                                                 7

30650642.1
    Case 3:24-cv-01328-AJB-ML           Document 67-1        Filed 02/03/25      Page 14 of 28




administrative in nature, and therefore provide the protection of qualified immunity to Korchak

and Loughran.

                                            POINT III

              THE FIRST, EIGHTH AND TENTH CAUSES OF ACTION FAIL
                TO REBUT THE PRESUMPTION OF PROBABLE CAUSE

         Plaintiff’s First Cause of Action (brought against Korchak but not Loughran) seeks

damages for alleged violations of his constitutional right to be free from false arrest and malicious

prosecution; his Eighth Cause of Action (brought against all defendants) seeks damages for the

same under New York State law. Plaintiff’s Tenth Cause of Action alleges violations of the New

York State Constitution and alleges that Plaintiff was “wrongly arrested” and “maliciously

prosecuted.” [Dkt. 1, ¶ 289]. Korchak and Loughran incorporate by reference as if more fully set

forth herein the legal arguments and authority set forth by Congdon in Points III and IV of her

Memorandum of Law. Prosecutorial immunity shields Korchak and Loughran with respect to the

claims made under the First, Eighth, and Tenth Causes of Action. Moreover, these causes of action

are also baseless and require dismissal for the reasons set forth below.

         The Second Circuit case law makes clear that “[t]he existence of probable cause for the

arrest and malicious prosecution of [Plaintiff] . . . is a complete defense to [Plaintiff’s] common

law false arrest and malicious prosecution claims, as well as [Plaintiff’s] § 1983 false arrest and

malicious prosecution claims.” Manganiello v. City of New York, 612 F.3d 149, 161-62 (2d Cir.

2010); Jaegly v. Couch, 439 F.3d 149, 152 (2d Cir. 2006); Singer v. Fulton County Sheriff, 63 F.3d

110, 118 (2d Cir. 1995). Further, an “indictment by a grand jury establishes a rebuttable

presumption of probable cause.” Manganiello, 612 F3d at 162. The presumption of probable cause

may be rebutted if there is evidence that the indictment was procured by “fraud, perjury, the

suppression of evidence or other police conduct undertaken in bad faith.” Id.

                                                 8

30650642.1
    Case 3:24-cv-01328-AJB-ML           Document 67-1        Filed 02/03/25      Page 15 of 28




         a. False Arrest Claim

         To prove false arrest under § 1983 (which are substantially the same elements under New

York law), Ackerson v. City of White Plains, 702 F.3d 15, 19 (2d Cir. 2012), the plaintiff must

establish “(1) the defendant intended to confine him, (2) the plaintiff was conscious of the

confinement, (3) the plaintiff did not consent to the confinement, and (4) the confinement was not

otherwise privileged.” Berie v. Stevenson, 2019 U.S. Dist. LEXIS 33464, *14 (N.D.N.Y. 2019).

“Probable cause is a complete defense to an action for false arrest . . .” Ackerson, 702 F.3d at 19.

         In the instant matter, Congdon was responsible for the day-to-day handling of the

Plaintiff’s prosecution. She made the decision to arrest Plaintiff based upon ample probable cause

that had been collected in the investigation which included the police report and sworn statements

of the complainant victims, forensic rape examinations, and corroborating evidence that they were

with Plaintiff and his criminal codefendants on the night in question. Additionally, there was

surveillance video footage which corroborates the timeline of the evening provided by the

complainants. The video footage, therefore, does not exonerate Plaintiff. Based upon the evidence

gathered, Congdon had probable cause to have Plaintiff arrested. Korchak and Loughran were not

alleged to have been involved in the day-to-day handling of the case, collection of evidence,

discovery, or decision to present the matter to the grand jury.

         Congdon made her presentation to the grand jury and obtained a proper grand jury

indictment. The Complaint fails to allege with any specificity that the indictment was the result of

fraud, perjury, suppression of evidence or bad faith. While there are broad allegations of “false

testimony” and “fabricating evidence,” Plaintiff fails to allege or identify the specific false

testimony or the evidence that is alleged to have been fabricated. Absent such allegations, Plaintiff

has failed to rebut the presumption of probable cause resulting from a grand jury indictment. For


                                                 9

30650642.1
    Case 3:24-cv-01328-AJB-ML            Document 67-1         Filed 02/03/25      Page 16 of 28




these reasons, the claims for false arrest, even if not prohibited by prosecutorial immunity, must

be dismissed as improper and without factual support.

         b. Malicious Prosecution Claim

         Plaintiff’s First, Eighth and Tenth Causes of Action fail in their entirety since a grand jury

indictment creates a presumption of probable cause, and probable cause is a complete defense to

claims of malicious prosecution. Manganiello v. City of New York, supra; Thorpe v. Duve, 2020

U.S. Dist. LEXIS 177564 (N.D.N.Y. Sept. 28, 2020). Importantly, the government has no “legal

obligation to present exculpatory evidence” to the grand jury since, such an obligation “would be

incompatible with [the grand jury] system.” United States v. Murphy, 2024 U.S. App. LEXIS

16083 (2d Cir. July 2, 2024) quoting United States v. Williams, 504 U.S. 36, 52 (1992). Further,

dismissal of an indictment is only appropriate where there has been a knowing or reckless

misleading statement as to an essential fact which “substantially influenced the grand jury’s

decision to indict . . .” Bank of Nova Scotia v. United States, 487 U.S. 250, 256 (1988).

         “The mere fact that evidence presented to the grand jury was unreliable, misleading, or

inaccurate, is not sufficient to require dismissal of an indictment.” United States v. Lombardozzi,

491 F.3d 61, 79 (2d Cir. 2007). The dismissal of an indictment is particularly unwarranted when

“[t]he particular claims of impropriety before the grand jury . . . concern the sufficiency of the

evidence, a failure to develop exculpatory evidence by the prosecutor, the presentation of

prejudicial evidence [, or] error in explaining the law . . .” which could be “cured in the trial before

the petit jury.” Lopez v. Riley, 865 F.2d 30, 33 (2d Cir. 1989).

         Korchak did not work on the investigation or collection of evidence in this case, nor did he

work in any capacity on the presentation of the case to the grand jury. Loughran was nominally

involved in the case until it was assigned to Congdon for handling in December 2021. Korchak


                                                  10

30650642.1
    Case 3:24-cv-01328-AJB-ML           Document 67-1        Filed 02/03/25      Page 17 of 28




and Loughran were not involved in the day-to-day handling of the case or investigation and relied

upon the recommendations made by Congdon who was putting together the case for presentation

to the grand jury. The case was presented to the grand jury and an indictment was returned which

creates a presumption of probable cause. Additionally, it appears that Plaintiff is alleging that the

failure to produce exculpatory evidence to the grand jury equates to fraud and fabrication of

evidence. However, the prosecutor is not required to present exculpatory or allegedly exonerating

evidence to a grand jury.

         Claims that the prosecutor “failed to develop exculpatory evidence” or presented the

testimony of a witness who may be unreliable is insufficient to require dismissal of an indictment.

See Lopez, supra. Probable cause is an absolute defense to a malicious prosecution claim which

Plaintiff has failed to rebut in his Complaint, and for these reasons, the First, Eighth and Tenth

Causes of Action must be dismissed.

         Further, Plaintiff also failed to allege that Korchak and Loughran acted against him with

actual malice. The Complaint contains only posturing self-serving statements which are

insufficient to meet the pleading requirement of a malicious prosecution claim. Notably, Korchak

and Loughran were not involved in the investigation or decision-making as to the prosecution

against Plaintiff. Having little to no interaction with the Plaintiff, the investigation, or the

development of the prosecution against him, it cannot be said that Korchak or Loughran acted with

any mal intent towards Plaintiff.

         Lastly, prosecutorial immunity shields Korchak and Loughran from the malicious

prosecution claim.




                                                 11

30650642.1
    Case 3:24-cv-01328-AJB-ML            Document 67-1          Filed 02/03/25      Page 18 of 28




                                              POINT IV

                   THE SECOND CAUSE OF ACTION IS FORECLOSED
                       BY THE ACQUITTAL AND IS FACIALLY
                         DEFICIENT AS A MATTER OF LAW

         Plaintiff alleges in his Second Cause of Action (asserted against Korchak but not Loughran)

 violations of his constitutional rights and claims denial of a fair trial resulting from fabricating

 evidence, withholding exculpatory material and impeachment evidence, and deliberately failing

 to conduct a constitutionally adequate investigation. Korchak and Loughran incorporate by

 reference as if more fully set forth herein the legal arguments and authority set forth by Congdon

 in Point IV of her Memorandum of Law.

         To be successful on a fabrication theory, Plaintiff must allege that “(1) an investigating

official (2) fabricate[d] information (3) that is likely to influence a jury’s verdict, (4) forwards that

information to prosecutors, and (5) the plaintiff suffers a deprivation of life, liberty, or property as

a result.” Garnett v. Undercover Officer C0039, 838 F.3d 265 (2d Cir. 2016). An alleged

fabrication of evidence by the police is not alleged to have been known to Korchak and liability

cannot be imputed to him on this basis. Plaintiff’s claims for alleged constitutional violations on

this basis must fail as against Korchak and requires dismissal.

         To prevail on a Brady claim, a plaintiff must show that “(1) the evidence at issue is

favorable to the accused, either because it is exculpatory or because it is impeaching; (2) the

evidence was suppressed by the State; and (3) prejudice . . . ensued.” Hincapie v. City of New York,

434 F. Supp. 3d 61 (S.D.N.Y. 2020) quoting Leka v. Portuondo, 257 F.3d 98, 98 (2d Cir. 2001).

Notably, if a criminal defendant is acquitted, “notwithstanding an alleged Brady violation, the

criminal defendant has not suffered prejudice and Brady has not been implicated.” Cannistraci v.

Kirsopp, 2012 U.S. Dist. LEXIS 68399, *52 (N.D.N.Y. May 16, 2012). The activities allegedly


                                                   12

30650642.1
    Case 3:24-cv-01328-AJB-ML           Document 67-1         Filed 02/03/25      Page 19 of 28




undertaken by Korchak were supervisory in nature only and are primarily based on Plaintiff’s

contention that Korchak failed to properly supervise or train Congdon as to procedures for

obtaining evidence or disclosing materials in discovery, not that Korchak himself fabricated

evidence or withheld evidentiary materials. Even setting that aside, these allegations are explicitly

prohibited by the doctrine of prosecutorial immunity and cannot lie against Korchak. Furthermore,

because his acquittal extinguishes his claims for alleged violations of his Fourteenth Amendment

rights, Plaintiff’s claim of constitutional violations on this basis fails and must be dismissed.

         Lastly, “there is no constitutional right to an adequate investigation.” Newton v. City of

New York, 566 F. Supp. 2d 256, 278 (S.D.N.Y. 2008). This claim is not recognized as a viable

cause of action. Even if it were, Korchak was not involved in the investigation of Plaintiff. Even

if he was, Korchak is entitled to the protections of qualified immunity.

         For all of these reasons, the Second Cause of Action should be dismissed as a matter of

law.

                                             POINT V

             THE THIRD CAUSE OF ACTION FOR FAILURE TO INTERVENE
              IS NOT PROPER AS AGAINST KORCHAK AND LOUGHRAN
               AND IS FACIALLY INSUFFICIENT AS A MATTER OF LAW

         Plaintiff’s Third Cause of Action claims a violation of his constitutional rights due to an

alleged failure to intervene to prevent malicious prosecution. Korchak and Loughran incorporate

by reference as if more fully set forth herein the legal arguments and authority set forth by Congdon

in Point V of her Memorandum of Law.

         A cause of action for failure to intervene is more appropriately asserted against law

enforcement officers, not prosecutors. See e.g. Garnett v. Undercover Officer C0039, 838 F.3d

265 (2d Cir. 2016); Breton v. City of New York, 404 F. Supp. 3d 799 (S.D.N.Y. 2019). “A police


                                                 13

30650642.1
    Case 3:24-cv-01328-AJB-ML            Document 67-1          Filed 02/03/25      Page 20 of 28




officer may be liable for failure to intervene under § 1983 where (1) the officer had a realistic

opportunity to intervene and prevent the harm; (2) a reasonable person in the officer’s position

would know that the victim’s constitutional rights were being violated; and (3) the officer does not

take reasonable steps to intervene.” Jean-Laurent v. Wilkinson, 540 F. Supp. 2d 501, 512

(S.D.N.Y. 2008), aff’d, 461 F. App’x 18 (2d Cir. 2012). Generally, a claim for failure to intervene

cannot be brought against those actively involved in the prosecution itself. Breton, 404 F. Supp.

3d at 814.

         Plaintiff failed to meet the requisite pleading elements for a failure to intervene cause of

action as it pertains to Korchak and Loughran, who acted as prosecutors, not law enforcement

officers. As set forth in the case law above, a claim for failure to intervene is not appropriate against

the prosecutors involved in the prosecution. Since Korchak and Loughran were supervising the

ADA assigned to the matter, this cause of action is not appropriate against them. Even if such a

cause of action could properly be brought against Korchak and Loughran, which is denied,

absolute immunity prohibits recovery. The Third Cause of Action must therefore be dismissed as

a matter of law.

                                              POINT VI

             PLAINTIFF’S FOURTH CAUSE OF ACTION FAILS TO ALLEGE
               INDIVIDUAL ACTIONS OF KORCHAK AND LOUGHRAN
              WHICH VIOLATE PLAINTIFF’S CONSTITUIONAL RIGHTS
                AND FAILS TO ALLEGE DELIBERATE INDIFFERENCE

         Plaintiff’s Fourth Cause of Action under Section 1983 alleges supervisory liability alleging

that the assistant district attorney prosecuting his case was not “adequately trained, supervised or

disciplined. . .” [Dkt. 1, ¶ 212]. Plaintiff fails to plead facts which demonstrate that Korchak and

Loughran, through their individual actions, violated Plaintiff’s constitutional rights. Plaintiff

also fails to plead facts which demonstrate the requisite deliberate indifference of his constitutional

                                                   14

30650642.1
    Case 3:24-cv-01328-AJB-ML            Document 67-1        Filed 02/03/25      Page 21 of 28




rights by Korchak and Loughran making this cause of action inadequately pled and requiring

dismissal.

         To sufficiently attach liability based upon status as a supervisor, the plaintiff must plead

that each “government-official defendant, through the official’s own individual actions, has

violated the Constitution.” Tangreti v. Bachmann, 983 F.3d 609, 612 (2d Cir. 2020); see also

Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009). Here, the only activities alleged to have been

conducted by Korchak and Loughran were in their capacity as the supervisors of Congdon (see

Point I, supra, subparagraphs “a” through “r”). There are no factual allegations to support

individual actions taken by Korchak or Loughran which violated Plaintiff’s constitutional rights.

Even if properly pled, the activities alleged by Korchak and Loughran were done in the course of

their employment as the District Attorney and Chief Assistant District Attorney and are therefore

protected by absolute prosecutorial immunity.

         The Supreme Court has held that municipal liability may be premised upon a failure to

train employees if the inadequate training “reflects deliberate indifference to . . . constitutional

rights.” City of Canton v. Harris, 489 U…S. 378, 392 (1989). However, a plaintiff must allege that

“a municipality’s failure to train its employees in a relevant respect . . .amount[ed] to deliberate

indifference to the rights of the persons with whom the untrained employees come into contact.”

Hernandez v. United States, 939 F.3d 191, 206 (2d Cir. 2019) citing Connick v. Thompson, 563

U.S. 51, 60 (2011).

         A municipality may only be found to be deliberately indifferent where “it fails to act when

it has actual or constructive notice, generally from a pattern of similar constitutional violations by

untrained employees, that its training program is deficient.” Hernandez, 939 F.3d at 207; see also

Bd. of the Cnty. Commrs v. Brown, 520 U.S. 397, 409 (1997) (“[a] pattern of similar constitutional


                                                 15

30650642.1
    Case 3:24-cv-01328-AJB-ML            Document 67-1        Filed 02/03/25       Page 22 of 28




violations by untrained employees is ‘ordinarily necessary’ to demonstrate deliberate indifference

for purposes of failure to train”). Importantly, a plaintiff must “demonstrate that the municipal

action was taken with deliberate indifference to its known or obvious consequences. A showing of

simple or even heightened negligence will not suffice.” Outlaw v. City of Hartford, 884 F.3d 351,

373 (2d Cir. 2018).

         Indeed, “proving that an injury or accident could have been avoided if an [employee] had

had better or more training, sufficient to equip him to avoid the particular injury-causing conduct”

is insufficient to sustain a failure to train cause of action pursuant to § 1983. City of Canton, 489

U.S. at 390. Section 1983 provides for a cause of action for failure to train or supervise “only

where, in light of the duties assigned to specific officers or employees the need for more or

different training is so obvious, and the inadequacy so likely to result in the violation of

constitutional rights, that the policymakers . . . can reasonably be said to have been deliberately

indifferent to the need.” Id.; see also Connick v. Thompson, 563 U.S. 51 (2011) (“recurring

constitutional violations are not the ‘obvious consequence’ of failing to provide prosecutors with

formal in-house training about how to obey the law”).

         Here, Plaintiff makes a conclusory allegations that the assistant district attorney should

have been better trained so as to prohibit any instances of allegedly fabricating evidence or

withholding exculpatory evidence. However, such allegations are insufficient, particularly where

Plaintiff fails to allege repeated civil rights violations or a pattern of unlawful conduct by

unsupervised employees which would give rise to deliberate indifference. See Outlaw v. City of

Hartford, 884 F.3d 351, 373 (2d Cir. 2018). Plaintiff has failed to allege that Korchak or Loughran

had any knowledge, actual or otherwise, that Congdon’s prosecution of the case against Plaintiff

was resulting in the violation of his constitutional rights. It cannot be said, therefore, that Korchak


                                                  16

30650642.1
    Case 3:24-cv-01328-AJB-ML            Document 67-1        Filed 02/03/25     Page 23 of 28




and Loughran were deliberately indifferent in their roles as supervisors at the Broome County

District Attorney’s Office. For these reasons, the Fourth Cause of Action is improperly and

insufficiently pled and must be dismissed as a matter of law.

                                            POINT VII

              THE SEVENTH CAUSE OF ACTION FOR CONSPIRACY FAILS
             TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

         The Seventh Cause of Action seeks damages for alleged violations of Plaintiff’s

constitutional rights based upon a theory that Defendants conspired against him. Korchak and

Loughran move for dismissal of this cause of action where Plaintiff has failed to properly plead

the requisite elements against them. Korchak and Loughran incorporate by reference as if more

fully set forth herein the legal arguments and authority set forth by Congdon in Point VII of her

Memorandum of Law.

         Significantly, “officers, agents, and employees of a single corporate or municipal entity,

each acting within the scope of his or her employment, are legally incapable of conspiring with

each other.” Dunlop v. City of New York, 2008 U.S. Dist. LEXIS 38250, *28 (S.D.N.Y. May 6,

2008). Additionally, “claims of conspiracy containing only conclusory, vague, or general

allegations of conspiracy to deprive a person of constitutional rights cannot withstand a motion to

dismiss.” Gallop v. Cheney, 642 F.3d 364, 369 (2d Cir. 2011).

         Plaintiff’s complaint contains speculation and conjecture and lacks the specificity required

to appropriately allege a conspiracy between the Binghamton Police Department (“BPD”) and the

District Attorney’s Office. Even if properly pled, Korchak and Loughran were not involved in the

investigation nor day-to-day activities of the prosecution and did not interact with the BPD in its

collection of evidence or interviewing of witnesses. For those reasons, there could not have been

any agreement between Korchak and Loughran and the BPD or a meeting of the minds to commit

                                                 17

30650642.1
    Case 3:24-cv-01328-AJB-ML            Document 67-1         Filed 02/03/25      Page 24 of 28




any such activity or overt act against Plaintiff in the investigation of the criminal charges against

Plaintiff. Plaintiff’s Complaint fails to identify any such acts, activities, or acts done in concert by

Korchak and Loughran and any other party. As the case law holds, Korchak and Loughran cannot

be said to have conspired between themselves or with Congdon against Plaintiff, since they were

all employees of the District Attorney’s Office. Additionally, even had Korchak and Loughran

been involved in building the case against Plaintiff, which is denied, their activities as District

Attorney and Chief Assistant District Attorney are fully protected by the doctrine of absolute

immunity and qualified immunity as set forth in Point I, supra.

                                            POINT VIII

       THE NINTH CAUSE OF ACTION FAILS TO PLEAD EXTREME AND
    OUTRAGEOUS CONDUCT AND THEREFORE FAILS AS A MATTER OF LAW

         The Ninth Cause of Action asserts a claim for intentional, reckless and/or negligent

infliction of emotional distress under New York law against all defendants. Korchak and Loughran

incorporate by reference as if more fully set forth herein the legal arguments and authority set forth

by Congdon in Point VIII of her Memorandum of Law.

         Importantly, Plaintiff’s Complaint is facially insufficient to meet the requisite elements of

this state law tort. Namely, the failure to allege that the conduct is so “extreme and outrageous”

which “transcends the bounds of decency.” Korchak and Loughran were not involved in the

prosecution of Plaintiff’s case and did not exhibit any conduct which could possibly be deemed

extreme or outrageous. Even if they had, any such activities of Korchak and Loughran were

performed in their role as prosecutors and is therefore protected by the shield of absolute immunity.

         As for a claim based upon negligent infliction of emotional distress, this too fails where

Plaintiff failed to allege any facts showing that Korchak and Loughran breached any duty owed to

Plaintiff which endangered his safety or caused him to fear for his safety. Without such allegations,

                                                  18

30650642.1
    Case 3:24-cv-01328-AJB-ML            Document 67-1        Filed 02/03/25       Page 25 of 28




the pleading is insufficient and cannot sustain a cause of action for negligent infliction of emotional

distress, requiring dismissal.

                                             POINT IX

             THE TWELFTH CAUSE OF ACTION FAILS TO MEET THE HIGH
              PLEADING BURDEN FOR MALICIOUS ABUSE OF PROCESS
               AND IS FACIALLY INSUFFICIENT AS A MATTER OF LAW

         Plaintiff’s Twelfth Cause of Action (asserted against Korchak but not against Loughran),

alleges abuse of process and is not sustainable as against Korchak. According to the Second

Circuit, we must look to state law for the elements of malicious abuse of process claims. In New

York, a plaintiff must allege that the defendant “(1) employed regularly issued legal process to

compel performance or forbearance of some act, (2) with intent to do harm without excuse or

justification, and (3) in order to obtain a collateral objective that is outside the legitimate ends of

the process.” Zappin v. Cooper, 2024 U.S. App LEXIS 15081, *4 (2d Cir. June 21, 2024). “Legal

process means that a court issued the process, and the plaintiff will be penalized if he violates it.”

Acosta v. Ferraro, 2024 U.S. Dist. LEXIS 196716 (S.D.N.Y. Oct. 25, 2024). Importantly, “an

arrest does not amount to ‘regularly issued legal process’ for the purposes of a malicious abuse of

process claim.” Fernandez v. City of New York, 457 F. Supp. 3d 364 (S.D.N.Y. 2020).

         Plaintiff makes broad and conclusory allegations that Korchak had an ulterior motive for

Plaintiff’s arrest, namely, to quell public pressure. [Dkt. 1, ¶ 302]. Notably, Korchak did not make

the decision to arrest Plaintiff, but, even if he had, the arrest itself is not “regularly issued legal

process” sufficient to sustain a malicious abuse of process claim. Further, the grand jury indicted

Plaintiff upon presentation of the same evidence upon which his arrest was based. Therefore, the

commencement of the prosecution after indictment was proper and was not an abuse of process as

a matter of law. Additionally, there is no allegation that Korchak had any intent to do harm to


                                                  19

30650642.1
    Case 3:24-cv-01328-AJB-ML           Document 67-1         Filed 02/03/25      Page 26 of 28




Plaintiff. Since Korchak did not make the decision to arrest, present to grand jury, or institute a

criminal proceeding following proper indictment, it can hardly be said that Korchak maliciously

abused the legal process causing any damage to Plaintiff. As pled, the Twelfth Cause of Action is

facially insufficient to meet the high burden required by a malicious abuse of process claim and

must therefore be dismissed as a matter of law.

                                          CONCLUSION

         For the reasons set forth hereinabove, Defendants Michael A. Korchak and Mark Loughran

seek an Order and Judgment of this Court granting its motion pursuant to F.R.C.P. 12(b)(6) to

dismiss the Plaintiff’s Complaint in its entirety and for such other, further, and different relief as

the Court deems just and proper.


DATED:          February 3, 2025               BARCLAY DAMON LLP

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                                                  20

30650642.1
    Case 3:24-cv-01328-AJB-ML          Document 67-1        Filed 02/03/25   Page 27 of 28




                                CERTIFICATE OF SERVICE

         I hereby certify that on February 3, 2025, I filed the foregoing Memorandum of Law in

Support of Motion to Dismiss of Michael A. Korchak and Mark Loughran with the CM/ECF

system which sent notification of such filing to the following:


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                                                21

30650642.1
    Case 3:24-cv-01328-AJB-ML    Document 67-1       Filed 02/03/25   Page 28 of 28




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                                         22

30650642.1
